                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA


 UNITED STATES OF AMERICA                        )       COLLIER/CARTER
                                                 )
         v.                                      )       CASE NO. 1:10-CR-110
                                                 )
 JERRY LAWSON                                    )



                               REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on June 29, 2011.

 At the hearing, defendant entered a plea of guilty to the lesser included offense in Count One of

 the Indictment, conspiracy to manufacture and distribute five grams or more of actual

 methamphetamine and fifty grams or more of a mixture and substance containing a detectable

 amount of methamphetamine, a Schedule II controlled substance, in violation of Title 21, USC

 §§ 846, 841(a)(1) and 841(b)(1)(B), in exchange for the undertakings made by the government in

 the written plea agreement. On the basis of the record made at the hearing, I find that the

 defendant is fully capable and competent to enter an informed plea; that the plea is made

 knowingly and with full understanding of each of the rights waived by defendant; that it is made

 voluntarily and free from any force, threats, or promises, apart from the promises in the plea

 agreement; that the defendant understands the nature of the charge and penalties provided by law;

 and that the plea has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment, and that the

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 written plea agreement be accepted at the time of sentencing. I further recommend that

 defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication

 of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved

 for the district judge.

         The defendant’s sentencing date is scheduled for Thursday, November 17, 2011, at 9:00

 am.




                                               s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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